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 2025 JAW21pm1;50

UNITED STATES DISTRICT COURT

DISTRICT OF NEW HAMPSHIRE

Civil No. l:20-cv-00517-PB


William S. Justice (aka) William Soler, Jr., PLAINTIFF

V.



Christopher T. Sununu, et al.,

DEFENDANTS




Tuesday, January 21, 2025

MOTION FOR ADVERSE INFERENCE TREATMENT BECAUSE OF DEFENDANTS' FAILURE TO PRODUCE
VIDEO




On January, in the year 2020, there was a conference between the Plaintiff (and his parents, and his
former guardian/current advisor, Wanda J. Duryea) and the Defendants (SPU staff and NH Attorney
General rep) at the SPU (Secure Psychiatric Unit) patients' visitors room. At this conference, the Plaintiff
(Mr. Justice) made it clear to Captain Marshall (SPU staff) In the open room, which was audible to all
participants, that the Plaintiff wanted Marshall to preserve the audio/video recordings of the 7 incidents
that are part of the lawsuit complaint, since the Plaintiff informed Marshall, at this conference, that the
Plaintiff intended on filing a lawsuit against the prison, sometime in the future.



Years later, when the issue of the Defendants providing the Plaintiff with HONEST Discovery, the Defense
claimed that the audlo/video Discovery (EVIDENCE) was UNavallable. This is a typical response for SPU
staff in cases of abuse against a patient, such as Mr. Justice (this according to other
patients/inmates). This probable underhandedness should be held against the Defendants as spoliation
of evidence.




Finally, the remedy that this Plaintiff seeks from this HONORABLE Court is that they treat the Defendants
as shady individuals and grant the Plaintiff the adverse Inference ruling. Thank you, and may God BLESS
this HONORABLE Court.




William S. Justice


C: Catherine A. Denny, esq.; Wanda J. Duryea
                                                                        OI/M/;ur(Tncs)
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